
USCA1 Opinion

	










          June 19, 1995
                                [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT

                           
                                 ____________________


        No. 95-1008

                                    UNITED STATES,

                                      Appellee,

                                          v.

                                 MAE LINH PELKEY, II,

                                Defendant, Appellant.


                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW HAMPSHIRE


                    [Hon. Paul J. Barbadoro, U.S. District Judge]
                                             ___________________

                                 ____________________

                                        Before

                        Cyr, Boudin and Lynch, Circuit Judges.
                                               ______________

                                 ____________________

            Marc Chretien on brief for appellant.
            _____________
            Paul  M.  Gagnon,  United  States  Attorney,  and  Jean  B.  Weld,
            ________________                                   ______________
        Assistant United States Attorney, on brief for appellee.

                                 ____________________


                                 ____________________





















                 Per Curiam.  Following  an earlier appeal in  which this
                 __________

            court remanded for resentencing, see United States v. Pelkey,
                                             ___ _____________    ______

            29  F.3d 11  (1st Cir.  1994), the  district court  sentenced

            defendant Mae Linh Pelkey to a 37-month term of imprisonment.

            Defendant again appeals, complaining  (as she did earlier) of

            an  upward departure  undertaken  by the  court.   This  time

            around, we find no error and thus summarily affirm.  See Loc.
                                                                 ___

            R. 27.1.  

                 Defendant,  a real estate  broker and  financial adviser

            who "defrauded a number  of her friends, business associates,

            and former customers  out of more than $500,000,"  Pelkey, 29
                                                               ______

            F.3d at 12, pled guilty in 1993 to three counts of mail fraud

            and one  count of wire fraud.   See 18 U.S.C.     1341, 1343.
                                            ___

            At the  original sentencing  on October  18, 1993,  the court

            imposed a prison  term of 43  months.  It first  calculated a

            total offense level  of 17,1 which  (with a criminal  history

            category of I) yielded a sentencing range of 24 to 30 months.

            The  court  then  determined  that an  upward  departure  was

            warranted  because  the  ten-level increase  mandated  by the

            applicable provision of  the fraud loss table did  not "fully





                                
            ____________________

            1.  The total  offense level  was comprised of  the following
            elements: a base offense  level of six for fraud,  U.S.S.G.  
            2F1.1(a)  (1992);  plus  ten   levels  for  losses  exceeding
            $500,000, id.   2F1.1(b)(1); plus a two-level enhancement for
                      ___
            more than one  victim, id.   2F1.1(b)(2)(B); plus a two-level
                                   ___
            enhancement for  vulnerable victim,  id.   3A1.1;  less three
                                                 ___
            levels for acceptance of responsibility, id.   3E1.1. 
                                                     ___















            capture the harmfulness" of  defendant's conduct.  U.S.S.G.  

            2F1.1, comment. (n.10) (1992).2  

                 In  support  of this  conclusion,  the  court cited  two

            factors (with primary emphasis placed on the former): (1)  as

            defendant  was or  should  have been  aware,  several of  the

            victims  were elderly  individuals  who lost  most or  all of

            their  life  savings,  with   little  prospect  of  regaining

            financial  security;  and (2)  several  victims  had suffered

            "extreme psychological  injury."   Suggesting  that the  real

            value  of the losses to the victims was closer to $10 million


                                
            ____________________

            2.  The 1992 version of application note 10 read in pertinent
            part as follows: 

                 In  cases  in  which  the  loss   determined  under
                 subsection  (b)(1)  does   not  fully  capture  the
                 harmfulness  and  seriousness  of  the  conduct, an
                 upward departure  may be  warranted.   Examples may
                 include the following:
                      (a)  the  primary objective  of the  fraud was
                 non-monetary;
                      (b) false statements were made for the purpose
                 of facilitating some other crime;
                      (c)   the   offense    caused   physical    or
                 psychological harm;
                      (d) the offense  endangered national  security
                 or military readiness;
                      (e) the offense caused a loss of confidence in
                 an important institution.

            U.S.S.G.    2F1.1, comment. (n.10)  (1992).  Effective  as of
            November 1, 1993, an amendment to note 10 added the following
            new subdivision:

                      (f)   the   offense   involved   the   knowing
                 endangerment  of  the  solvency  of  one   or  more
                 victims.

            See U.S.S.G., App. C., Amend. 482 (1993).
            ___

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            than to $500,000, the court departed upward by five levels to

            a total offense level of 22.  The resulting 43-month sentence

            was near the bottom of the revised sentencing range.

                 On  appeal,  we agreed  with  defendant  that the  cited

            justifications for the five-level departure  were inadequate.

            With respect  to the court's  first rationale, we  noted that

            "[t]he failure to  have a secure  financial future does  not,

            without more, rise to  the level of seriousness" contemplated

            by  the   grounds  for   departure  listed  as   examples  in

            application note  10.3  Pelkey, 29  F.3d at 15.   At the same
                                    ______

            time, we  acknowledged that there was  a distinction "between

            defrauding a 40-year-old of her life savings and defrauding a

            60-year-old  of  her savings."    Id.   That  distinction, we
                                              ___

            observed, was at least partially reflected in the enhancement

            for  vulnerable victim and would not, in any case, "warrant a

            five-level departure."   Id.  Yet  we specifically left  open
                                     ___

            the possibility that an upward departure might be appropriate

            if, on remand, "the court were to make specific findings that

            some  of the victims were unable to provide for their welfare

            or  that  the facts  present[ed]  a  situation  equal to  the

            serious caliber"  of the examples listed  in application note

            10.   Id.  We also  referred to the intervening  amendment to
                  ___

                                
            ____________________

            3.  As to the  court's secondary rationale, we  held that the
            severity of the psychological injury suffered  by defendant's
            victims  was not  "so  far beyond"  that experienced  in "the
            heartland of fraud cases"  as to justify a departure  on such
            basis.  Pelkey, 29 F.3d at 16. 
                    ______

                                         -4-















            note  10  which  had  added  to  that  list  of  examples  by

            encouraging  a  departure  where  "the  offense involved  the

            knowing endangerment of the solvency of one or more victims."

            Id. at  15 n.5 (quoting U.S.S.G.    2F1.1, comment. (n.10(f))
            ___

            (1993)).   We observed that  a departure on  this ground--one

            which required a finding that a defendant knowingly  pushed a
                                                      _________

            victim  into extreme financial hardship--"seem[ed] to address

            the type of harm the court was attempting to quantify."  Id.
                                                                     ___

                 On  remand, after  receiving supplemental  evidence from

            the  parties, the  court found  that defendant  had knowingly

            endangered  the  solvency of  several  of  her  victims.   It

            therefore again departed upward, this  time by two levels, to

            reach  a total offense level  of 19.   The resulting 37-month

            sentence was within the revised sentencing range.  As she did

            below, defendant  now argues that  (1) reliance  on the  1993

            amendment  to application note 10  violated the ex post facto
                                                            _____________

            clause;  (2) consideration  of the  government's supplemental

            affidavits was  improper,  and  the  evidence  was  otherwise

            insufficient  to   support  the  upward  departure;  and  (3)

            departing  upward due to the financial strain on the victims,

            in conjunction  with the  adjustment for  vulnerable victims,

            resulted  in  impermissible double-counting.   Each  of these

            contentions, we conclude, misses the mark.

                                Ex Post Facto Concerns
                                ______________________





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                 "To  avoid  ex post  facto  difficulties,  courts should
                             ______________

            'normally apply [guideline] amendments retroactively  only if

            they  clarify  a guideline,  but  not  if they  substantively

            change  a guideline.'"   United States  v. Rostoff,  ___ F.3d
                                     _____________     _______

            ___, No. 93-1376,  slip op.  at 12 (1st  Cir. 1995)  (quoting

            United  States v. Prezioso, 989 F.2d 52, 53 (1st Cir. 1993)).
            ______________    ________

            Defendant argues that the  1993 amendment to application note

            10 effected such a substantive change.   This conclusion, she

            suggests,  is  apparent from  the  language  employed by  the

            Commission, which  described this aspect of  the amendment as

            one  that "revises  the Commentary  to    2F1.1  by expanding
                       _______                                  _________

            Application Note 10 to provide guidance in cases in which the

            monetary loss does not  adequately reflect the seriousness of

            the offense."  U.S.S.G., App. C., Amend. 482 (1993) (emphasis

            added).  The fact that other changes implemented by Amendment

            482  were  characterized  as  "clarifying,"  she  adds,  only

            reinforces this interpretation.

                 We  disagree.   The distinction between  a clarification

            and a substantive  revision of the  guidelines is not  always

            "clear-cut,"  Isabel v. United  States, 980 F.2d  60, 62 (1st
                          ______    ______________

            Cir.  1992), and  the Commission's  language can  be read  to

            support  either view.4   Of greater  relevance, we  think, is

                                
            ____________________

            4.  At one point, the district court appeared to suggest that
            the amendment  could be  deemed clarifying simply  because it
            involved an application note  rather than a guideline proper.
            Any such suggestion was  incidental to the court's reasoning,
            and we have  no occasion  to address it  here--other than  to

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            the fact that the examples listed in application note 10 were

            (and are) meant to be "nonexclusive."  Pelkey, 29 F.3d at 14.
                                                   ______

            As we indicated in our  earlier decision, an upward departure

            based on unusual  financial strain incurred  by a victim  was

            permissible even before the  1993 amendment.  See id.  at 15.
                                                          ___ ___

            Indeed, other  courts have  upheld departures on  this ground

            based on the pre-1993  version of application note 10.   See,
                                                                     ___

            e.g., United States v. Kaye, 23 F.3d 50, 53-54 (2d Cir. 1994)
            ____  _____________    ____

            (affirming upward departure based on finding that defendant's

            fraud--depriving his great-aunt of her life savings--involved

            a degree  of harm  not adequately considered  by Commission);

            United States  v. Stouffer, 986  F.2d 916, 927-28  (5th Cir.)
            _____________     ________

            (affirming  departure  based  on finding  that  fraud  scheme

            caused thousands  of investors  to lose their  life savings),

            cert.  denied, 114  S. Ct. 115  (1993).   To a  large extent,
            _____________

            therefore,  the 1993  amendment simply  codified pre-existing

            practice.  Under these circumstances, retroactive application

            of the amendment  raises no  ex post facto  concerns.5   See,
                                         _____________               ___

            e.g., United States  v. Fadayini,  28 F.3d  1236, 1242  (D.C.
            ____  _____________     ________

                                
            ____________________

            observe that, after the Supreme Court's ruling that guideline
            commentary  is  generally  binding,  see  Stinson  v.  United
                                                 ___  _______      ______
            States,  113 S. Ct. 1913, 1919 (1993), other courts have held
            ______
            that "subsequent  amendments to the commentary  ... may, just
            like   the  guidelines  themselves,  present  ex  post  facto
                                                          _______________
            problems  when  applied retrospectively."   United  States v.
                                                        ______________
            Bertoli, 40 F.3d 1384, 1405 (3d Cir. 1994) (listing cases).  
            _______

            5.  As the district court  suggested in the alternative, this
            also  means  that  the   upward  departure  could  have  been
            undertaken without reliance on the intervening amendment.

                                         -7-















            Cir. 1994) (applying  application note  10(f) on  retroactive

            basis, without mentioning ex post facto issue); United States
                                      _____________         _____________

            v. Strouse, ___ F. Supp. ___, 1995 WL 235568, at *5 (M.D. Pa.
               _______

            1995) (same).



                                  Evidentiary Issues
                                  __________________

                 In  the  earlier appeal,  we  vacated  the sentence  and

            remanded "for  resentencing  consistent with  this  opinion."

            Pelkey,  29   F.3d  at  16.    On  remand,  over  defendant's
            ______

            objection,  the district  court  permitted the  government to

            supplement the record  with additional affidavits  from three

            of the  victims.6   Defendant now  insists that  the district

            court  exceeded the  scope of our  mandate by  permitting the

            evidentiary record to  be reopened.  Yet  our earlier opinion

            specifically  contemplated  that  the  court might  make  new

            findings of fact to support the upward departure.  See id. at
                                                               ___ ___

            15.  It was well within the court's discretion to permit both

            sides to  supplement the record in connection with this issue

            prior to its doing so.7  See, e.g., United States  v. Bell, 5
                                     ___  ____  _____________     ____

            F.3d 64,  66-67 (4th Cir. 1993).  The court on remand did not

            engage  in  a  fully  de novo  hearing  in  which  previously
                                  _______

                                
            ____________________

            6.  These  victims, among others, had earlier provided victim
            impact  statements  to  the  Probation   Office,  which  were
            recounted at length in the presentence report.

            7.  The  defendant  declined  to  present  any  new  evidence
            regarding  the financial  solvency  issue, but  did take  the
            opportunity to buttress earlier evidence of rehabilitation.

                                         -8-















            forfeited  issues were  resuscitated,  see  generally  United
                                                   ______________  ______

            States v. Bell,  988 F.2d  247 (1st Cir.  1993);8 indeed,  it
            ______    ____

            declined to  entertain a proposed  new sentencing enhancement

            (for  abuse of position of trust) not earlier advanced by the

            government.   And  defendant's reliance  on United  States v.
                                                        ______________

            Parker,  30 F.3d 542, 553-54 (4th Cir.), cert. denied, 115 S.
            ______                                   ____________

            Ct. 605 (1994), is misplaced, inasmuch as the government here

            was  not afforded a second opportunity to prove an element of

            the offense.  We thus see no error.9

                 Defendant's  secondary  contention in  this regard--that

            the evidence was  insufficient to support a finding  that she

            knowingly  endangered the  solvency  of one  or  more of  her

            victims--is advanced  only in  peremptory fashion and  can be

            summarily rejected.   It suffices to note  the following: (1)

            the Meuse/Laskey affidavit stated that defendant "handled all

            of our financial matters" and "knew what we had right down to

            the  last  penny  and  she  took  that  also";  and  (2)  the

            presentence  report  indicated   that  LeClair  had  provided


                                
            ____________________

            8.  Whether  a de novo hearing would have been proper in this
                           _______
            situation,  of course,  is a  question not  before us.   See,
                                                                     ___
            e.g., United States  v. Ortiz,  25 F.3d 934,  935 (10th  Cir.
            ____  _____________     _____
            1994).

            9.  Any  error in this regard would be harmless in any event.
            As the  district court  observed, the finding  that defendant
            knowingly endangered the solvency of  one or more victims was
            reasonably  inferable  from  the  evidence  contained in  the
            presentence  report.   Indeed,  defendant acknowledged  below
            that the new affidavits "paraphrase[d]" the victims'  earlier
            statements "almost completely." 

                                         -9-















            defendant  with  a copy  of  his assets  and  liabilities; he

            elaborated in his affidavit that defendant "always knew about

            my  financial situation and knew  that if she  didn't give me

            back the money, I would become insolvent."  Based on this and

            substantial other evidence, the district court's finding that

            "the  departure-justifying   circumstance  actually  existed"

            cannot  be  deemed  clearly  erroneous.    United  States  v.
                                                       ______________

            Rostoff, ___ F.3d at ___, slip op. at 13.
            _______

                                   Double-Counting
                                   _______________

                 Finally,   we   reject   defendant's   contention   that

            undertaking an  upward departure for financial  impact on the

            victims,   while   simultaneously   imposing    a   two-level

            enhancement for vulnerable victims, constituted impermissible

            double-counting.  We implicitly rejected this argument in our

            earlier  decision, see Pelkey, 29  F.3d at 14-15,  as did the
                               ___ ______

            Commission  in its  1993  amendment to  application note  10.

            While  the  two  matters  do overlap,  there  remains  a core

            distinction: the vulnerable  victim adjustment focuses  on an

            individual's susceptibility to becoming a victim of crime per

            se, whereas the note 10(f) departure focuses on the extent to

            which  a victim has suffered an unusual degree of harm from a

            crime.  See, e.g., United States v. Kaye, 23 F.3d at 54.   As
                    ___  ____  _____________    ____

            such,  "the  vulnerable  victim  enhancement  does not  fully

            capture  [the] concern with the actual impact of the fraud on





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            the victim."  Id.  We thus agree with the district court that
                          ___

            no double-counting occurred.

                 Affirmed.
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